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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                     ]
                                             ]       No.     14-CR-10201-DJC
       v.                                    ]
                                             ]
1.     ERIC MCPHAIL                          ]
2.     DOUGLAS PARIGIAN                      ]

                                  JOINT STATUS REPORT

       Pursuant to Local Rule 116.5, the parties hereby submit this joint status report in

anticipation of the initial status conference scheduled for August 20, 2014.

I.     Status of Discovery and Timing of Additional Production

       Automatic discovery is not complete. On August 7, 2014, along with other

miscellaneous items, the government produced all materials gathered using multiple search

warrants and the warrant applications themselves. The government also invited counsel to

review the contents of a government database of materials received through the use of grand jury

subpoenas, or to provide a hard drive onto which the government could copy the database.

       The government has received one hard drive so far, but the government’s database is not

quite finished; vacation schedules among the technical personnel building the database slowed

the process through most of August. The government anticipates that the database will be

complete – and transferred to whatever drives the government has been given – within three to

four weeks.

II.    Timing of Additional Discovery Requests

       After the government confirms that automatic discovery is complete, the defendants

reserve the right to make additional discovery requests pursuant to Local Rule 116.3.
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III.    Protective Orders

        The government anticipates seeking a protective order to protect personal identifying

information and other sensitive information contained in materials produced in automatic

discovery. The government will confer with the defendants on this issue.

IV.     Rule 12 Motions

        The defendants suggest that any motions under Rule 12 be filed within 60 days of the

completion of automatic discovery.

V.      Expert Disclosures

        The parties suggest that any expert disclosures be due 60 days (government) and 45 days

(defense) before trial.

VI.     Excludable Delay

        Pursuant to Local Rule 112.2(a)(1) and the Speedy Trial Act, the government moves for

exclusion of the period from arraignment (July 11, 2014) through August 20, 2014.

VII.    Future Conferences

        The parties suggest an interim status conference approximately a month from the date of

this initial status conference.

        Respectfully submitted,

        Carmen M. Ortiz              Eric McPhail                  Douglas Parigian
        United States Attorney       Defendant                     Defendant


By:     /s/ Andrew Lelling           /s/ Thomas Kiley              /s/ Allison Koury
        Andrew Lelling               Thomas Kiley, Esq.            Allison Koury, Esq.
        Assistant U.S. Attorney      Counsel to Eric McPhail       Stanley Norkunas, Esq.
                                                                   Counsel to Douglas Parigian




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                                      CERTIFICATE OF SERVICE

         I hereby certify that this document, filed through the ECF system, will be sent electronically to
the registered participants as identified on the Notice of Electronic Filing, and paper copies will be sent to
those indicated as non-registered participants, on August 19, 2014.


                                                           /s/ Andrew Lelling
                                                           Andrew E. Lelling




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